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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
ABDULLAH RABBAT,

                        Plaintiff,

v.                                                           Case No: 6:17-cv-278-Orl-28KRS

COVINGTON          SPECIALTY
INSURANCE COMPANY,

                        Defendant/Third
                        Party Plaintiff,

ORANGE COUNTY SHERIFF’S
OFFICE,

                   Third Party Defendant.


                             ORDER ON INTERESTED PERSONS
                              AND CORPORATE DISCLOSURE

       This Court makes an active effort to review each case in order to identify parties

and interested corporations in which the assigned District Judge or Magistrate Judge may

have an interest, as well as for other matters that might require consideration of recusal.

It is therefore.

       ORDERED that, within fourteen days 1 from the date of this order (or from the date

of subsequent first appearance 2 in this action), THIRD PARTY DEFENDANT ORANGE

COUNTY SHERIFF’S OFFICE shall file and serve a CERTIFICATE                           OF INTERESTED

PERSONS AND CORPORATE DISCLOSURE STATEMENT substantially in the following form:


        1
          If this order was served by mail, add three days to the prescribed period. Fed. R. Civ. P. 6.
Service by facsimile constitutes a method of hand delivery for the purpose of computing the time within
which any response is required. Local Rule 1.07(c).
       2
          Every pleading or paper filed constitutes a general appearance of the party unless otherwise
specified. Local Rule 2.03(a).
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                                               [CAPTION OF CASE]

                            CERTIFICATE OF INTERESTED PERSONS
                           AND CORPORATE DISCLOSURE STATEMENT

     I hereby disclose the following pursuant to this Court’s Order on Interested Persons
And Corporate Disclosure Statement:

1.)    the name of each person, attorney, association of persons, firm, law firm,
partnership, and corporation that has or may have an interest in a party to this action or
in the outcome of this action, including subsidiaries, conglomerates, affiliates, parent
corporations, publicly-traded companies that own 10% or more of a party’s stock, and all
other identifiable legal entities related to a party: 3 [insert list]

2.)   the name of every other entity whose publicly-traded stock, equity, or debt may be
substantially affected by the outcome of the proceedings: 4 [insert list]

3.)    the name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or if no
creditors’ committee the 20 largest unsecured creditors): 5 [insert list]

4.)  the name of each victim (individual and corporate), including every person who
may be entitled to restitution: 6 [insert list]

5.)      Check one of the following:

             a. I certify that I am unaware of any actual or potential conflict of interest
involving the District Judge and Magistrate Judge assigned to this case and will
immediately notify the Court in writing upon learning of any such conflict.
                                           -or-
            b. I certify that I am aware of a conflict or basis of recusal of the District
Judge or Magistrate Judge as follows: (explain)

[Date]

                                                               [Counsel of Record or Pro Se Party]
[Certificate of Service]                                            [Address and Telephone]




         3
         This disclosure is to be given in all cases. A party should not routinely list an assigned District
Judge or Magistrate Judge as an “interested person” absent some non-judicial interest.
         4
             This disclosure is to be given in all cases.

         5
             This disclosure is to be given in bankruptcy cases.

         6
             This disclosure is to be given in criminal and civil cases.

                                                        -2-
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        It is FURTHER ORDERED that no party may seek discovery from any source

before filing and serving a Certificate of Interested Persons and Corporate Disclosure

Statement. A motion, memorandum, response, or other paper — including emergency

motion — may be denied or stricken unless the filing party has previously filed and

served a CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT.

                                            Conflicts Disclosure

        The     undersigned        Judge      and     Magistrate       Judges      have      placed     on

www.flmd.uscourts.gov (click on ”Chambers”, then click on the name of the Judge, e.g.,

“Honorable John Antoon II”, then click on “Interest List”) a list of investments, of which the

Judge is aware, owned by family members of such Judge or by the Judge or the

Magistrate Judge. This information is provided so that participants in this case will be

able to advise the Court if there is any actual or apparent conflict of interest in the

assignment of this case. This information is not to be used for any other purpose. It is

anticipated that this list will be updated regularly. In addition to viewing the list on

www.flmd.uscourts.gov, any party, counsel, or movant appearing in a case assigned to

the undersigned Judge or the Magistrate Judge may view a copy of the list at the Clerk’s

office in Orlando, Florida. 7




        7
           Attention is directed to the Ethics Reform Act of 1989, published in Title 5 of the United States
Code Annotated, Appendix 4, Sections 101-112, for information concerning the procedure for obtaining
copies of the Financial Disclosure Report, and to II Guide to Judiciary Policies and Procedures, Codes of
Conduct for Judges and Judicial Employees, ch. I, Code of Conduct for United States Judges, Canon 3 and
ch. V, Compendium of Selected Opinions, §3.1 (Administrative Office of the United States Courts 1999)
for further information on recusable and non-recusable interests.

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       It is FURTHER ORDERED that each party has a continuing obligation to file and

serve an amended Certificate of Interested Persons and Corporate Disclosure Statement

within fourteen days of discovering any ground for amendment, for conflict of interest, for

recusal, or for disqualification of the judicial officer.

       Therefore, it is FURTHER ORDERED that, in order to assist the Court in

determining when a conflict of interest may exist, each party shall use the full caption of

this case, including the names of all parties and intervenors, on all motions, memoranda,

papers, and proposed orders submitted to the Clerk. See Fed. R. Civ. P. 10 (a); Local

Rule 1.05 (b) (“et al.” discouraged).

            JOHN ANTOON II
             John Antoon II
       United States District Judge

         KARLA R. SPAULDING                                      GREGORY J. KELLY
       Karla R. Spaulding [KRS]                                 Gregory J. Kelly [GJK]
     United States Magistrate Judge                         United States Magistrate Judge

          THOMAS B. SMITH                                          DANIEL C. IRICK
         Thomas B. Smith [TBS]                                   Daniel C. Irick [DCI]
     United States Magistrate Judge                         United States Magistrate Judge

           DAVID A. BAKER
          David A. Baker [DAB]
     United States Magistrate Judge


October 12, 2017

Copies to:     All Counsel of Record
               All Pro Se Parties




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